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                             CRIMINAL JURY TRIAL PROCEEDINGS (DAY 4)

 Date: 10/14/2022                 Case No: 1:21-cr-00245-AJT-1      Time: 09:07 a.m. – 09:15 a.m.
                                                                          09:30 a.m. – 10:48 a.m.
 Before the Honorable: ANTHONY J. TRENGA                                  11:18 a.m. – 12:55 p.m.
                                                                           2:00 p.m. – 2:30 p.m.
 Court Reporter: Rhonda Montgomery (AM)                                    2:55 p.m. – 3:15 p.m.
                 Tonia Harris (PM)                                         3:30 p.m. – 3:50 p.m.




               PARTIES                                                   COUNSEL

 UNITED STATES OF AMERICA                       John Durham, Michael Keilty, Brittany Shaw, Ryan James
                                                (special agent), Kari Arsenault (special paralegal)
 vs.

 IGOR Y. DANCHENKO                              Danny Onorato, Stuart Sears, Matthew Milzman (paralegal),
                                                Charles Tent (paralegal), Grace McMahon (paralegal)

THIS MATTER CAME ON FOR A TRIAL BY JURY.

Preliminary matters heard.

Government’s Motion for reconsideration regarding admission of Exhibit 900 – Argued and Denied.

Government continued to Adduce Evidence [ ] and Rests []
Jury excused for the day (at 2:10 p.m.)
Motions: Defendant’s Rule 29 Motion for Judgment as a Matter of Acquittal – Argued and Granted as to Count 1;
Counts 2-5 will be submitted to the jury.

Jury Instruction Conference held with counsel []

Closing Arguments [ ]                Jury Charged [   ]                  Jury Retired to Deliberate [ ]

The Jury Returned to the Courtroom With a Verdict of:
Jury Polled [ ]                      Jury Discharged [ ]           Jury Verdict Filed in Open Court [ ]
Deft(s) Remanded [    ]              Deft(s) Continued on Present Bond [ ]
PSIR Ordered [ ]                     Deft(s) Directed to Report to P.O. [ ]



Case Continued To: MONDAY, OCTOBER 17, 2022 AT 9:00 A.M. for STATUS BEFORE TRIAL

Case Continued To: MONDAY, OCTOBER 17, 2022 AT 9:30 A.M. for JURY TRIAL
